 Case 1:22-cv-01466-MN Document 32 Filed 04/28/23 Page 1 of 1 PageID #: 2945




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                            )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )      C.A. No. 22-1466-MN
                                                   )
TESLA, INC.,                                       )
                                                   )
               Defendant.                          )


                               STIPULATION TO EXTEND TIME

       The parties hereby stipulate and agree, subject to the approval of the Court, that the time

for the parties to submit a proposed Protective Order for consideration by the Court (D.I. 25, ¶ 3)

is extended from April 28, 2023 (D.I. 29) to and including May 12, 2023.


 /s/ Emily S. DiBenedetto                       /s/ Jack B. Blumenfeld
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 Dated: April 28, 2023




       SO ORDERED this _____ day of_____________, 2023.



                                             ________________________________
                                                 United States District Judge
